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5    Attorney for Defendant
     SHANNON ARMSTRONG
6

7                        IN THE UNITED STATES DISTRICT COURT

8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,            ) Case No.: 2:15-CR-131 TLN
                                          )
11                      Plaintiff,        ) STIPULATION AND ORDER CONTINUING
                                          ) JUDGMENT AND SENTENCING
12                                        )
     vs.
                                          ) Date: November 3, 2016
13                                        ) Time: 9:30 a.m.
     SHANNON ARMSTRONG,                   ) Judge: Honorable Troy L. Nunley
14                                        )
                        Defendant.        )
15

16
           The parties hereby stipulate the following:
17

18         1.    Judgment and sentencing in this matter is presently set for

19   August 25, 2016. Counsel for the parties request the date for judgment

20   and sentencing be continued to November 3, 2016 at 9:30 a.m.
21   Assistant United States Attorney Samuel Wong has been advised of this
22
     request and has no objection.
23
           2.    The parties request the Court adopt the following schedule
24
     pertaining to the presentence report:
25
                Judgment and Sentencing date:                    11/3/16
26
                Reply, or Statement of Non-Opposition:           10/27/16
27

28
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1              Motion for Correction of the Presentence
               Report Shall be filed with the Court and
2              served on the Probation Officer and
               opposing counsel no later than:                        10/20/16
3

4
               The Presentence Report shall be filed
               with the Court And disclosed to counsel
5              no later than:                                         10/13/16

6              Counsel’s written objections to the
               Presentence Report Shall be delivered
7              to the probation officer and opposing
               Counsel no later than:                                 10/6/16
8
               The Presentence Report shall be filed
9
               with the Court And disclosed to counsel
10             no later than:                                         n/a

11

12

13
     IT IS SO STIPULATED.
14

15
     Dated:    July 27, 2016                      /s/ John R. Manning
16                                                JOHN R. MANNING
                                                  Attorney for Defendant
17                                                Shannon Armstrong

18
     Dated:    July 28, 2016                      Phillip A. Talbert
19                                                United States Attorney
20
                                                  by: /s/ Samuel Wong
21                                                SAMUEL WONG
                                                  Assistant United States Attorney
22

23
                                          ORDER
24
     IT IS SO FOUND AND ORDERED this 1st day of August, 2016.
25

26

27

28
                                                    Troy L. Nunley
                                                    United States District Judge
